          Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 1 of 8



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                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,             )                      No. 4:08-cv-435-BLW
                                        )
       Plaintiff,                       )                      PLAINTIFF’S REPLY BRIEF
vs.                                     )                      IN SUPPORT OF MOTION FOR
                                        )                      LEAVE TO FILE FIRST
RYAN ZINKE*, Secretary,                 )                      SUPPLEMENTAL COMPLAINT
DEPARTMENT OF THE INTERIOR, an )                               (ECF No. 275)
agency of the United States, and BUREAU )
OF LAND MANAGEMENT,                     )
                                        )
       Defendants.                      )

                                              INTRODUCTION

         Contrary to BLM’s Opposition Brief, ECF No. 285 (“Opp. Br.”), allowing the First

Supplemental Complaint proposed by Western Watersheds is appropriate under Rule 15(d) and

makes sense as it involves the same grazing allotments and factual and legal issues already

addressed by the Court in this case.

         BLM misreads Planned Parenthood of Southern Arizona v. Neely, 130 F.3d 400 (9th Cir.

1997), as supposedly prohibiting the proposed supplemental complaint. But – unlike here – final

judgment had been rendered years before in Planned Parenthood and the district court had not

retained jurisdiction, so supplementation was improper there. Id., 130 F.3d at 403.

         BLM also argues that allowing the supplemental complaint would prejudice it by


* Pursuant to F.R.Civ.25(d), current Interior Secretary Ryan Zinke is automatically substituted for former
Secretaries Ken Salazar and Sally Jewell.
         Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 2 of 8



extending this case further, when remaining Section 325 permits will supposedly expire and be

replaced in the next couple years, thus supposedly mooting Western Watersheds’ claims. But

that point underscores why supplementation should be allowed now – BLM will replace the

expiring Section 325 permits with new permits under its legally-flawed reading of the 2015

NDAA, so the Court properly should review and correct that reading at this juncture, before

BLM goes even further down the unlawful road it is on.

       BLM does not dispute that the proposed supplemental complaint overlaps closely with

the allotments and Court’s prior decisions in this case. If the Court chooses to deny the motion

for supplementation and require Western Watersheds to file a new action instead, it should

therefore direct that the new action be assigned to it in light of that close overlap and the Court’s

familiarity with the facts, procedural history, and legal issues in question.

                                      REPLY ARGUMENT

       I.      SUPPLEMENTATION IS PROPER HERE UNDER RULE 15.

       BLM first argues that the proposed First Supplemental Complaint is improper under Rule

15(d), because it would supposedly “introduce a distinct new claim, directed at new agency

actions, based on a newly enacted law,” and is thus precluded by Planned Parenthood of

Southern Arizona v. Neely, 130 F.3d 400 (9th Cir. 1997). See Opp. Br, pp. 6-8.

       BLM’s reads Planned Parenthood too broadly. That case was brought as a class action

to challenge an Arizona parental consent abortion law in 1989; the district court entered a final

order and permanent injunction declaring the statute unconstitutional in 1992, without any appeal

and without the district court retaining jurisdiction. See Planned Parenthood, 130 F.3d at 402.

Several years later, the district court allowed a supplemental complaint under Rule 15 to

challenge a subsequent parental consent abortion statute. Id. The Ninth Circuit’s per curiam




REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                                 2
         Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 3 of 8



opinion held that the district court abused its discretion, stating – in the Conclusion – that the

prior final judgment without any reservation of district court jurisdiction meant supplementation

under Rule 15 was not proper:

       Because the original action between Planned Parenthood and Neely had reached a final
       resolution and the district court did not retain jurisdiction, we hold that it was an abuse of
       discretion to allow plaintiffs to supplement the complaint that formed the basis for that
       action, instead of requiring them to initiate a new suit.

130 F.3d at 403.

       Rather than acknowledging this holding from Planned Parenthood, BLM drops a

footnote saying the entry of final judgment without retaining jurisdiction there “provided only

secondary support to the court’s holding that new and distinct claims should be brought in a

separate lawsuit.” See BLM Oppos., p. 7, n.2. But the express language of the Conclusion,

quoted above, refutes that reading. And even the paragraph that BLM relies upon underscores

that the entry of final judgment without the district court retaining jurisdiction was the central

reason for its holding that a later supplemental complaint was improper under Rule 15, stating:

       The supplemental complaint filed by plaintiffs involved a new and distinct action that
       should have been the subject of a separate suit. Although both the original suit and the
       supplemental complaint sought to challenge Arizona's parental consent law, the
       supplemental complaint challenged a different statute than the one that had been
       successfully challenged in the original suit. Additionally, a final judgment had been
       rendered in the original action four years prior to plaintiffs' request to supplement their
       complaint. That judgment was not appealed and in no way would be affected by
       plaintiffs' supplemental complaint. Nor did the district court retain jurisdiction after
       entering that order.

See 130 F.3d at 402.

       Here, of course, there is no final judgment and the Court currently exercises jurisdiction

over Western Watersheds’ challenges to the BLM grazing allotments in question. Western

Watersheds simply seeks to update its legal claims to address subsequent factual events and

BLM’s legal error in misreading the 2015 NDAA, just as it misread the 2003 grazing rider under



REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                                  3
        Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 4 of 8



the Court’s prior Phase Two SJ Decision. This is precisely the kind of scenario contemplated by

the provisions of Rule 15(d) that liberally authorize supplemental complaints. Keith v. Volpe,

858 F.2d 467, 473-75 (9th Cir. 1988).

       II.     ALLOWING THE SUPPLEMENTAL COMPLAINT WILL NOT
               PREJUDICE BLM.

       BLM also argues that allowing the supplemental complaint would “substantially delay

resolution of the case and thereby prejudice Defendants.” Opp. Br., pp. 8-12. It asserts that the

only claims left in the case are “claims relating to 159 Section 325 permits that were not litigated

in phase 2” – which it contends will “dwindle” down to 7 permits (or possibly none) over the

next year as they expire and are replaced under the 2015 NDAA. Id., p. 9 (citing Robbins Decl.).

Thus, according to BLM, Western Watersheds’ remaining claims over the Section 325 permits

are actually or “prudentially” moot, and the Court should not extend the litigation further by

allowing the supplemental complaint. Id.

       BLM fails to acknowledge, however, that other matters are still pending before the Court

in this case, including its own Motion For Reconsideration of the Court’s Phase Two SJ Decision

construing the Section 325 grazing rider (ECF No. 277), and Western Watersheds’ Motion For

Remedial Relief On Phase One and Phase Two Allotments (ECF No. 276), seeking to require

BLM to end its long pattern of delay and finally comply with the Court’s Phase One and Phase

Two SJ Decisions. Moreover, as BLM concedes, numerous Section 325 permits challenged in

the Third Amended Complaint (ECF No. 118-1) remaining outstanding, and many of those

Section 325 permits are being unlawfully converted into 2015 NDAA permits. The validity of

such conversion is one of the issues remaining before the Court and is closely intertwined with

the claim in the proposed First Supplemental Complaint.

       BLM’s assurances about the future expiration and replacement of the Section 325 permits



REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                                 4
         Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 5 of 8



are also questionable, and should not just be credited at face value by the Court. BLM’s prior

representations about when it would complete processing of grazing permits for the allotments at

issue in the Burley, Bruneau, and Owyhee Field Offices have not been accurate, and it has taken

many years longer for BLM to process even the Phase One allotment permits that the Court held

unlawful back in 2012 (ECF No. 213). That is the reason why Western Watersheds has now

filed its Motion for Remedial Relief, seeking Court-imposed deadlines to ensure BLM actually

completes the analysis and permit processing within reasonable timeframes.

       The proposed First Supplemental Complaint presents primarily legal issues concerning

BLM’s misreading of the 2015 NDAA amendments to FLPMA Section 402 and how BLM itself

has prioritized grazing permits for renewal in key sage-grouse habitats under the 2015 Sage-

Grouse Plan Amendments. See (Proposed) First Supplemental Complaint (ECF No. 275-1).

BLM should be able to quickly submit the Administrative Record materials for its issuance of

the 2015 NDAA permits challenged in the proposed First Supplemental Complaint, since it

bypassed any NEPA review or public involvement in those permit renewals and thus the

Administrative Record materials will presumably be very limited. Moreover, BLM has already

filed with this Court the Administrative Record for the 2015 Idaho Sage-Grouse Plan

Amendments, referenced in the First Supplemental Complaint. See WWP v. Schneider, No.

1:16-cv-083-BLW, ECF Nos. 87-88 (notices re filing of Administrative Record). The parties can

thus rapidly adjudicate the single Claim for Relief in the proposed First Supplemental Complaint

without necessarily delaying ultimate resolution of this case at all.

       Other than complaining about potentially delaying resolution of this case, BLM points to

no other prejudice it would allegedly suffer from allowing the supplemental complaint. Western

Watersheds will challenge BLM’s unlawful reading of the 2015 NDAA in converting prior




REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                              5
         Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 6 of 8



Section 325 permits – themselves unlawful, as the Court ruled in the Phase Two SJ Decision –

either in this case or in a new action. BLM will have to file record materials and defend its

actions through normal summary judgment briefing, either in this case or in a new action. And

as Western Watersheds pointed out in its opening brief (pp. 13-14), some delay in resolving a

case alone is not “prejudice” or adequate reason to deny a Rule 15(d) motion to supplement.

Accordingly, the Court should adhere to the liberal supplementation allowed by Rule 15(d) and

grant leave for Western Watersheds to file the proposed supplemental complaint.

        III.    IF SUPPLEMENTATION IS DENIED, THE COURT SHOULD DIRECT
                THAT THE NEW COMPLAINT BE ASSIGNED TO IT.

        Finally, if the Court were to deny the motion for leave to file a supplemental complaint,

Western Watersheds respectfully submits that the Court should direct that the new complaint be

assigned to it, in light of the close overlap between this action and the new one. Again, the Court

is already familiar with the facts, history, and procedural status of BLM’s grazing authorizations

in the Burley, Bruneau, and Owyhee Field Offices that are at issue in this case and in the

proposed First Supplemental Complaint. Similar legal issues are presented regarding BLM’s

interpretation of the Section 325 grazing rider and the 2015 NDAA amendments to FLPMA.

And the Court can best ensure consistent remedies are entered for the allotments at issue by

directing that it handle the new case as it addresses Western Watersheds’ Motion for Remedial

Relief in this case.

        Similar considerations led the Court to direct that closely related new cases be assigned to

it when Western Watersheds has sought supplementation before. See, e.g., Memorandum

Decision & Order, Western Watersheds Project et al. v. U.S. Forest Service, No. 4:07-cv-151-

BLW, ECF # 203 (6/4/2012) (denying motion to reopen prior bighorn sheep grazing litigation




REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                                 6
        Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 7 of 8



and directing that when WWP files the new case, “that case shall be assigned to this Court

because this case and the new filing have so many factual and legal issues in common”).

                                         CONCLUSION

       For the foregoing reasons, Western Watersheds respectfully requests that the Court grant

its Motion and authorize filing of the [Proposed] First Supplemental Complaint; or in the

alternative, if supplementation is denied, direct that the new case filed by Western Watersheds be

assigned to it in light of the close overlap between the two actions.

Dated this 16th day of March, 2018.                   Respectfully submitted,

                                                      /s/ Laird J. Lucas___
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                                                      Project

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of March, 2018, I caused the foregoing REPLY
BRIEF ON MOTION TO FILE SUPPLEMENTAL COMPLAINT to be electronically filed with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to all
counsel of record in this matter as follows:

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REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                                                7
       Case 4:08-cv-00435-BLW Document 293 Filed 03/16/18 Page 8 of 8



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REPLY BRIEF ON MOTION FOR SUPPLEMENTAL COMPLAINT --                            8
